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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
 UNITED STATES, et al.,                        )
                                               )
                        Plaintiffs,            )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                        Defendant.             )

  UNOPPOSED MOTION TO TAKE CERTAIN DEPOSITIONS OF PLAINTIFF AFTER
                     FACT DISCOVERY CUTOFF

        PURSUANT TO Rule 16(b)(4) of the Federal Rules of Civil Procedure and Local Civil

 Rule 16(B), Defendant Google LLC (“Google”) seeks leave to take certain portions of the Rule

 30(b)(6) deposition of the United States and a Rule 30(b)(1) deposition of an individual

 government employee after the fact discovery cut-off, now set as September 8, 2013 (Docket no.

 69). The grounds and reasons for granting this relief are stated below. Google understands that

 Plaintiffs do not oppose the relief sought in this motion.

             A. Rule 30(b)(6) Deposition of the United States

        1.      Google requests leave of court to conduct certain portions of Google’s Rule

 30(b)(6) deposition of the United States at mutually agreed-upon dates and times after September

 8, 2023, but no later than September 30, 2023.

        2.      The scope and duration of designee-testimony in response to certain portions of

 Google’s 30(b)(6) notice to the United States was resolved by the Court on September 1, 2023

 (Docket no. 377). The United States has yet to identify its designee(s) and to provide dates for all

 topics. The parties will work together to schedule 30(b)(6) testimony at mutually agreeable dates

 before September 30, 2023.
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             B. Individual Government Employee

        3.      Under Rule 30(b)(1), Google properly noticed the deposition of an individual

 federal government employee in time to be taken prior to the fact discovery cut-off date, September

 8, 2023. The United States has advised Google that the witness is unavailable to sit for a deposition

 prior to the fact discovery cut-off.

        4.      Google therefore requests leave of court to conduct this deposition at a mutually

 agreed-upon date and time after September 8, 2023, but no later than September 30, 2023.

             C. Good Cause for Granting Relief.

        5.      Generally, when a party seeks to modify the scheduling order, the Court must

 consider whether there is any “danger of prejudice to the non-moving party, the length of delay

 and its potential impact on judicial proceedings, the reason for the delay, and whether the movant

 acted in good faith.” Roe v. Howard, No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, *1-2 (E.D.

 Va. June 30, 2017). Furthermore, a showing of “good cause” to modify the scheduling order

 “requires ‘the party seeking relief [to] show that the deadlines cannot reasonably be met despite

 the party’s diligence.’” Cook v. Howard, 484 Fed. Appx. 805, 815 (4th Cir. 2012) (unpublished

 per curiam) (citations omitted); accord Fed. R. Civ. P. 16, 1983 Adv. Comm. Notes (the movant

 must show that the current deadlines “cannot reasonably be met despite the diligence of the party

 seeking” the modification). Google submits that good cause under this test is easily shown to

 justify taking these depositions after September 8, 2023.

        6.      The good cause factors favor extending the current schedule for these depositions.

 First, there will be no prejudice to another party. Second, these depositions are expected to be

 completed promptly and will not impede the rest of the schedule. Third, under the circumstances,




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 it is not feasible to complete these depositions prior to the current fact discovery cut-off.

 Accordingly, good cause exists to allow the deposition to be taken after September 8.

        7.      Google further requests that it be permitted to make use of these depositions as if

 they had been taken on or before September 8, 2023.

        8.      Google understands that Plaintiffs do not oppose the relief sought in this motion.

        WHEREFORE, Google requests that the Court grant this motion for leave to conduct these

 depositions after the close of fact discovery and to use these depositions as if they had occurred on

 or before September 8, 2023. A proposed order is submitted herewith.

        The parties waive oral argument on this procedural motion.

 Dated: September 2, 2013                          Respectfully submitted,

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